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September !1, 2020

ThyssenKrupp North America, Inc
Patent Department

111 W. Jackson Suite 2400
Chicago, I]. 60604

Attn: Rob Harmer, Esq.
Intellectual Property Counsel

Re: Atlas Electronics / Atlas North America/ ThyssenKrupp Patent issue
Dear Rob,

I represent Melinda Smith who is a resident of Gloucester County Virginia. Ms. Smith
recently visited my office and advised as to the following set of facts.

In 2015, Ms. Smith developed a product concept to assist in the tracking and location of
persons who had fallen overboard while on a cruise ship. This concept involved a wrist band
coupled with specific sonar technology.

In March of 2015, Ms. Smith met with Martin Wilcox, an employee of Atlas North America
and former owner of Marine Sonic Technology. Mr. Wilcox said he was interested in the project
and prepared a Non-Disclosure Agreement.

On May 20, 2015 Ms. Smith engaged in a second meeting with Mr. Wilcox at which time
the NDA was executed by the parties with the document signed electronically on behalf of Atlas
North America LLC by Andy Culbreath. During that meeting, Mr. Wilcox advised Ms. Smith that
she and he were to be 50/50 partners.

In 2016, Mr. Wilcox called Ms. Smith and advised that his employer, Atlas North
America, and its parent company Atlas Electronics had been purchased by ThyssenKrupp. Mr.
Wilcox advised my client that her intellectual property went along with the sale and that her name
was listed as “outside inventor’ and Mr. Wilcox was listed as the “inside inventor”. Mr. Wilcox
also commented that he was “waiting to see if corporate would go for the patent”.
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Numerous emails thereafter were sent addressing the pace of the project and the involved
technology.

In 2018, Ms. Smith received an email from Mr. Wilcox saying that a patent attorney in
Chicago was working on the patent and that “it was almost ready for the first review.”

On August 14, 2019, Ms. Smith received an email from Mr, Wilcox indicating that
ThyssenKrupp had submitted the patent to the United Stated Patent and Trademark office and was
waiting to sce whether the claims being set forth in the patent would be allowed by the USPTO.

On February 5, 2020, Ms. Smith received an email from Mr. Wilcox advising her that the
“original in-house application had gone into the T-K patent process and that T-K did the actual
paperwork and the formal application to the USPTO.”

Since the February email, Mr. Wilcox has been non-responsive to emailed questions from
Ms. Smith inquiring about the status of the patent.

We recently conducted a patent search and it appears that a patent has not been issued by
the USPTO to ThyssenKrupp referencing the project as addressed above.

Because Mr. Wilcox references a patent attorney in Chicago working on the project on
behalf of ThyssenKrupp, we thought that this attorney might be you; hence, this letter; a copy of
which is being sent to Mr. Wilcox, as well.

If you could please respond to the inquiry for information at your earliest convenience, my
client would be most appreciative. She just wants to know what is going on. I appreciate your time.

Sincerely,

 

William E. Johnson

WEJ:jms

ce: Client
